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                       UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
SECURITIES AND EXCHANGE              )
COMMISSION,                          )
            Plaintiff,               )
                                     )
            v.                       )
                                     )
ROGER KNOX, WINTERCAP SA             )
MICHAEL T. GASTAUER,                 )
WB21 US INC., SILVERTON, SA INC., )                  Civil Action No. 18-cv-12058 (RGS)
WB21 NA INC., C CAPITAL              )
CORPORATION, WINTERCAP               )
SA INC., AND B2 CAP INC.             )
                       Defendants,   )
                                     )
RAIMUND GASTAUER, SIMONE             )
GASTAUER FOEHR, B21 LTD.,            )
SHAMAL INTERNATIONAL FZE,            )
AND WB21 DMCC,                       )
            Relief Defendants.       )
____________________________________)
           ANSWER OF WB21 DMCC TO AMENDED COMPLAINT

       Now comes Relief DefendantWB21 DMCC in response to the numbered paragraphs in

the Plaintiff’s Amended Complaint and states as follows:

                                          SUMMARY

       1. The allegations in this Paragraph seek to characterize the Complaint and consists of

           allegations that are not directed at WB21 DMCC and thus no response is required.

           To the extent a response is deemed to be required, WB21 DMCC states that it lacks

           sufficient information to admit or deny the allegations of this Paragraph and calls

           upon the Plaintiff to prove the same. Further answering, WB21 DMCC denies that it

           participated in, or benefitted from, any illegal scheme.



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2. The allegations in this Paragraph are not directed at WB21 DMCC and thus no

   response is required. To the extent a response is deemed to be required, WB21

   DMCC states that it lacks sufficient information to admit or deny the allegations of

   this Paragraph and calls upon the Plaintiff to prove the same. Further answering,

   WB21 DMCC denies that it participated in, or benefitted from, any illegal scheme.

3. The allegations of this Paragraph consist of conclusions of law and thus no response

   is required.

4. The allegations in this Paragraph are not directed at WB21 DMCC and thus no

   response is required. To the extent a response is deemed to be required, WB21

   DMCC states that it lacks sufficient information to admit or deny the allegations of

   this Paragraph and calls upon the Plaintiff to prove the same. Further answering,

   WB21 DMCC denies that it participated in, or benefitted from, any illegal scheme.

5. The allegations in this Paragraph are not directed at WB21 DMCC and thus no

   response is required. To the extent a response is deemed to be required, WB21

   DMCC states that it lacks sufficient information to admit or deny the allegations of

   this Paragraph and calls upon the Plaintiff to prove the same. Further answering,

   WB21 DMCC denies that it participated in, or benefitted from, any illegal scheme.

6. The allegations in this Paragraph are not directed at WB21 DMCC and thus no

   response is required. To the extent a response is deemed to be required, WB21

   DMCC states that it lacks sufficient information to admit or deny the allegations of

   this Paragraph and calls upon the Plaintiff to prove the same. Further answering,

   WB21 DMCC denies that it participated in, or benefitted from, any illegal scheme.



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7. The allegations in this Paragraph are not directed at WB21 DMCC and thus no

   response is required. To the extent a response is deemed to be required, WB21

   DMCC states that it lacks sufficient information to admit or deny the allegations of

   this Paragraph and calls upon the Plaintiff to prove the same. Further answering,

   WB21 DMCC denies that it participated in, or benefitted from, any illegal scheme.

8. The allegations in this Paragraph are not directed at WB21 DMCC and thus no

   response is required. To the extent a response is deemed to be required, WB21

   DMCC states that it lacks sufficient information to admit or deny the allegations of

   this Paragraph and calls upon the Plaintiff to prove the same. Further answering,

   WB21 DMCC denies that it participated in, or benefitted from, any illegal scheme.

9. The allegations in this Paragraph are not directed at WB21 DMCC and thus no

   response is required. To the extent a response is deemed to be required, WB21

   DMCC states that it lacks sufficient information to admit or deny the allegations of

   this Paragraph and calls upon the Plaintiff to prove the same. Further answering,

   WB21 DMCC denies that it participated in, or benefitted from, any illegal scheme.

10. WB21 DMCC denies the allegations in this Paragraph.

11. The allegations in this Paragraph are not directed at WB21 DMCC and thus no

   response is required. To the extent a response is deemed to be required, WB21

   DMCC states that it lacks sufficient information to admit or deny the allegations of

   this Paragraph and calls upon the Plaintiff to prove the same. Further answering,

   WB21 DMCC denies that it participated in, or benefitted from, any illegal scheme.




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12. The allegations in this Paragraph consist of a characterization of the Plaintiff’s

   requests for relief and thus no response is required.

13. The allegations in this Paragraph are not directed at WB21 DMCC and thus no

   response is required. To the extent a response is deemed to be required, WB21

   DMCC states that it lacks sufficient information to admit or deny the allegations of

   this Paragraph and calls upon the Plaintiff to prove the same. Further answering,

   WB21 DMCC denies that it participated in, or benefitted from, any illegal scheme.

                         JURISDICTION AND VENUE

14. WB21 DMCC denies that this Court has jurisdiction over it.

15. WB21 DMCC lacks sufficient information to admit or deny the allegations in this

   Paragraph and calls upon the Plaintiff to prove the same.

                                  DEFENDANTS

16. WB21 DMCC lacks sufficient information to admit or deny the allegations in this

   Paragraph and calls upon the Plaintiff to prove the same.

17. WB21 DMCC lacks sufficient information to admit or deny the allegations in this

   Paragraph and calls upon the Plaintiff to prove the same.

18. WB21 DMCC admits the allegations of this Paragraph.

19. WB21 DMCC admits that Wintercap SA Inc. and B2 Cap Inc. are Delaware

   corporations that use a mailing address in New York, New York. WB21 DMCC

   denies the additional allegations of this Paragraph.




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                           RELIEF DEFENDANTS

20. WB21 DMCC admits that Raimund Gastauer is a relative of Gastauer. WB21 DMCC

   denies the remaining allegations of this Paragraph.

21. WB21 DMCC admits that B21 Ltd. is a United Kingdom-based entity and denies the

   remaining allegations of this Paragraph.

22. WB21 DMCC lacks sufficient information to admit or deny the allegations of this

   Paragraph and calls upon the Plaintiff to prove the same.

23. WB21 DMCC admits that it is an entity organized under the laws of the United Arab

   Emirates with a business location in Dubai. It admits that a relative of Gastauer is the

   sole shareholder of WB21 DMCC. It denies the remaining allegations of this

   Paragraph.

24. WB21 DMCC states that the allegations of this Paragraph characterize the Amended

   Complaint and thus no response is required.

                                BACKGROUND

25. WB21 DMCC states that the allegations of this Paragraph consist of conclusions of

   law to which no response is required. To the extent these allegations are deemed to

   include assertions of fact, WB21 DMCC lacks sufficient information to admit or deny

   them and calls upon the Plaintiff to prove the same.

26. WB21 DMCC states that the allegations of this Paragraph consist of conclusions of

   law to which no response is required. To the extent these allegations are deemed to




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   include assertions of fact, WB21 DMCC lacks sufficient information to admit or deny

   them and calls upon the Plaintiff to prove the same.

27. WB21 DMCC states that the allegations of this Paragraph consist of conclusions of

   law to which no response is required. To the extent these allegations are deemed to

   include assertions of fact, WB21 DMCC lacks sufficient information to admit or deny

   them and calls upon the Plaintiff to prove the same.

28. WB21 DMCC lacks sufficient information to admit or deny the allegations of this

   Paragraph and calls upon the Plaintiff to prove the same.

29. WB21 DMCC lacks sufficient information to admit or deny the allegations of this

   Paragraph and calls upon the Plaintiff to prove the same.

                                     FACTS

30. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

                  Example One: Environmental Packaging

31. WB21 DMCC lacks sufficient information to admit or deny the allegations of this

   Paragraph.

32. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be




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   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

33. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

34. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

35. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

36. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

37. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.



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38. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

39. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

40. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

41. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

42. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

43. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be



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   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

44. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

45. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

46. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

47. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

48. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.



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49. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

50. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

51. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

52. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

53. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

54. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be



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   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

55. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

56. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

57. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

58. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

59. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.



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60. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

61. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

                             Example Two: CURE

62. WB21 DMCC lacks sufficient information to admit or deny the allegations of this

   Paragraph and calls upon the Plaintiff to prove the same.

63. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

64. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

65. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be




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   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

66. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

67. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

68. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

69. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

70. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.



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71. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

72. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

73. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

74. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

75. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

76. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be



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   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

77. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

78. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

                          Example Three: Garmatex

79. WB21 DMCC lacks sufficient information to admit or deny the allegations of this

   Paragraph and calls upon the Plaintiff to prove the same.

80. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

81. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.




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82. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

83. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

84. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

85. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

86. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

87. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be



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   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

88. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

89. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

90. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

91. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be

   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

                              Monetary Transfers

92. WB21 DMCC states that the allegations of this Paragraph are not directed at WB21

   DMCC and thus no response is required. To the extent a response is deemed to be




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   required, WB21 DMCC states that it lacks sufficient information to admit or deny the

   allegations of this Paragraph and calls upon the Plaintiff to prove the same.

93. WB21 DMCC admits that in 2016 Wintercap SA became a customer of WB21 PTE

   LTD. (“WB21 PTE”), a payment processor authorized as a stored value facility with

   the Monetary Authority of Singapore. WB21 DMCC denies all additional allegations

   of this Paragraph.

94. WB21 DMCC admits that marketing material for WB21 PTE stated that “[a]ccount

   opening for you or your business can be difficult if you are not in the same country as

   your Bank or if you are in an industry most Banks would not support.” WB21

   DMCC denies the remaining allegations of this Paragraph.

95. WB21 DMCC admits that in October 2015 Gastauer founded WB21 US Inc., after

   which he opened bank accounts in three U.S.-based banks, and was the sole signing

   authority for each account. WB21 DMCC denies the remaining allegations of this

   Paragraph.

96. WB21 DMCC admits that between December 2015 and August 2016 funds from

   Wintercap SA’s bank accounts in Latvia and Mauritius were deposited into WB21 US

   Inc.’s bank account. WB21 DMCC denies all additional allegations of this

   Paragraph.

97. WB21 DMCC admits that WB21 US Inc. was not a registered bank. Further

   answering, WB21 DMCC states that it lacks sufficient information to admit or deny

   the remaining allegations of this Paragraph and calls upon the Plaintiff to prove the

   same.



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98. WB21 DMCC admits that in August 2016, Gastauer participated in the formation of

   Silverton SA Inc. and established bank accounts in the name of Silverton SA Inc.

   WB21 DMCC lacks sufficient information to admit or deny the remaining allegations

   of this Paragraph and calls upon the Plaintiff to prove the same.

99. WB21 DMCC states that the Plaintiff has accurately quoted from one email sent by

   Gastauer. Further answering, WB21 DMCC denies the additional allegations of this

   Paragraph.

100.   WB21 DMCC denies the allegations of this Paragraph.

101.   WB21 DMCC denies the allegations of this Paragraph.

102.   WB21 DMCC denies the allegations of this Paragraph.

103.   WB21 DMCC admits that the Plaintiff has accurately quoted a portion of an email

       exchange but denies the remaining allegations of this Paragraph.

104.   WB21 DMCC admits that the Plaintiff has accurately quoted a portion of an email

       exchange but denies the remaining allegations of this Paragraph.

105.   WB21 DMCC lacks sufficient information to admit or deny the allegations of the

       first sentence of this Paragraph and calls upon the Plaintiff to prove the same.

       WB21 DMCC denies the remaining allegations of this Paragraph.

106.   WB21 DMCC lacks sufficient information to admit or deny the allegations of this

       Paragraph and calls upon the Plaintiff to prove the same.

                                Relief Defendants

107.   WB21 DMCC denies the allegations of this Paragraph.


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108.   WB21 DMCC denies the allegations of this Paragraph.

109.   WB21 DMCC lacks sufficient information to admit or deny the allegations of this

       Paragraph.

110.   WB21 DMCC admits the allegations of this Paragraph but denies that these

       transfers violated any law.

111.   WB21 DMCC admits the allegations of this Paragraph.

112.   WB21 DMCC admits the allegations of this Paragraph, but denies the WB21

       DMCC accounts were “beneficially owned by a relative of Gastauer.”

                       FIRST CLAIM FOR RELIEF
           FRAUD IN THE OFFER OR SALE OF SECURITIES
             (Violations of Sections 17(a) of the Securities Act)


113.   WB21 DMCC reasserts its responses to each of the foregoing Paragraphs as if

       explicitly stated herein.

114.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

115.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks




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         sufficient information to admit or deny the factual allegations of this Paragraph

         and calls upon the Plaintiff to prove the same.

                        SECOND CLAIM FOR RELIEF
FRAUD IN CONNECTION WITH THE PURCHASE OR SALE OF SECURITIES
  (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 thereunder)
  116.   WB21 DMCC reasserts its responses to each of the foregoing Paragraphs as if

         explicitly stated herein.

  117.   WB21 DMCC states that the allegations of this Paragraph are not directed

         towards it and contain conclusions of law and thus no response is required. To

         the extent a response is deemed required, WB21 DMCC states that it lacks

         sufficient information to admit or deny the factual allegations of this Paragraph

         and calls upon the Plaintiff to prove the same.

  118.   WB21 DMCC states that the allegations of this Paragraph are not directed

         towards it and contain conclusions of law and thus no response is required. To

         the extent a response is deemed required, WB21 DMCC states that it lacks

         sufficient information to admit or deny the factual allegations of this Paragraph

         and calls upon the Plaintiff to prove the same.

                         THIRD CLAIM FOR RELIEF
              UNREGISTERED OFFERINGS OF SECURITIES
            (Violations of Sections 5(a) and 5(c) of the Securities Act)
  119.   WB21 DMCC reasserts its responses to each of the foregoing Paragraphs as if

         explicitly stated herein.

  120.   WB21 DMCC states that the allegations of this Paragraph are not directed

         towards it and contain conclusions of law and thus no response is required. To




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       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

121.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

                       FOURTH CLAIM FOR RELIEF
                          AIDING AND ABETTING
               (Violations of Section 15(b) of the Securities Act)
122.   WB21 DMCC reasserts its responses to each of the foregoing Paragraphs as if

       explicitly stated herein.

123.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

124.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.




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125.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

126.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

                           FIFTH CLAIM FOR RELIEF
                        UNREGISTERED BROKER-DEALER
                           (Violations of Section 15(a)(1))


127.   WB21 DMCC reasserts its responses to each of the foregoing Paragraphs as if

       explicitly stated herein.

128.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

129.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks


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       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

                        SIXTH CLAIM FOR RELIEF
                          AIDING AND ABETTING
               (Violations of Section 20(e) of the Exchange Act)
130.   WB21 DMCC reasserts its responses to each of the foregoing Paragraphs as if

       explicitly stated herein.

131.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

132.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

133.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.




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                      SEVENTH CLAIM FOR RELIEF
                          AIDING AND ABETTING
               (Violations of Section 15(b) of the Securities Act)
134.   WB21 DMCC reasserts its responses to each of the foregoing Paragraphs as if

       explicitly stated herein.

135.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

136.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To

       the extent a response is deemed required, WB21 DMCC states that it lacks

       sufficient information to admit or deny the factual allegations of this Paragraph

       and calls upon the Plaintiff to prove the same.

137.   Denied.

138.   Denied.

                         EIGHTH CLAIM FOR RELIEF
                            AIDING AND ABETTING
                 (Violations of Section 20(e) of the Exchange Act)
139.   WB21 DMCC reasserts its responses to each of the foregoing Paragraphs as if

       explicitly stated herein.

140.   WB21 DMCC states that the allegations of this Paragraph are not directed

       towards it and contain conclusions of law and thus no response is required. To



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                the extent a response is deemed required, WB21 DMCC states that it lacks

                sufficient information to admit or deny the factual allegations of this Paragraph

                and calls upon the Plaintiff to prove the same.

        141.    Denied.

        142.    Denied.

                      NINTH CLAIM FOR RELIEF
      OTHER EQUITABLE RELIEF, INCLUDING UNJUST ENRICHMENT AND
                        CONSTRUCTIVE TRUST
        143.    WB21 DMCC reasserts its responses to each of the foregoing Paragraphs as if

                explicitly stated herein.

        144.    WB21 DMCC states that this Paragraph accurately quotes a portion of the

                Exchange Act and that no further response is required.

        145.    Denied.

        146.    Denied.

        147.    Denied.

                                   AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

        The funds received by WB21 DMCC were not ill gotten and therefore there is no basis

for the Plaintiff to claim a right to them.

                              SECOND AFFIRMATIVE DEFENSE

        As a matter of law, the Plaintiff’s claims against the Defendants Michael T. Gastauer,



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WB21 US Inc., Silverton, SA Inc., WB21 NA Inc., Capital Corporation, Wintercap SA Inc., and

B2 CAP Inc. fail. As a result, the SEC has no claims against WB21 DMCC.

                             THIRD AFFIRMATIVE DEFENSE

       As a matter of law, the Plaintiff cannot bring these claims against WB21 DMCC

because the Court lacks personal jurisdiction over WB21 DMCC. As a result, the claims should

be dismissed.



                                       JURY DEMAND

       WB21 DMCC demands a trial by jury on all counts so triable.


       WHEREFORE, WB21 DMCC requests that this Court enter judgment on its behalf on all

claims of the Plaintiff, dissolve the Preliminary Injunction obtained by the Plaintiff as to WB21

DMCC, dismiss the Plaintiff’s claims with prejudice, award it attorney’s fees and all other relief

this Court deems just and proper.

                                             Respectfully submitted,
                                             WB21 DMCC
                                             By its attorneys,


                                             /s/ Timothy Cornell
                                             Timothy Cornell (BBO #654412)
                                             Patrick Dolan (BBO# 564250)
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DATE: July 3, 2019




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                                          ECF Notification

I certify that this Pleading will be filed through the Court’s ECF system and that the parties to

this action will receive notice electronically.

                                                  __/s/ Timothy Cornell




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